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     MOTION TO RECONSIDER MOTION FOR                SMITH LAW, LLC
     TEMPORARY RESTRAINING ORDER | 1                4301 NE 4th St. PO Box 2767
                                                    Renton, WA 98059
                                                    Phone: (206) 715-4248
                                                    Fax: (250) 900-2664
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     TEMPORARY RESTRAINING ORDER | 2                4301 NE 4th St. PO Box 2767
                                                    Renton, WA 98059
                                                    Phone: (206) 715-4248
                                                    Fax: (250) 900-2664
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     TEMPORARY RESTRAINING ORDER | 3                4301 NE 4th St. PO Box 2767
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                                                    Phone: (206) 715-4248
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                                                    Phone: (206) 715-4248
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                                                    Phone: (206) 715-4248
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                                                    Phone: (206) 715-4248
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                                                    Renton, WA 98059
                                                    Phone: (206) 715-4248
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                                                    Renton, WA 98059
                                                    Phone: (206) 715-4248
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     TEMPORARY RESTRAINING ORDER | 12               4301 NE 4th St. PO Box 2767
                                                    Renton, WA 98059
                                                    Phone: (206) 715-4248
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                                                    Renton, WA 98059
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                                                    Phone: (206) 715-4248
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                                                    Renton, WA 98059
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     TEMPORARY RESTRAINING ORDER | 24               4301 NE 4th St. PO Box 2767
                                                    Renton, WA 98059
                                                    Phone: (206) 715-4248
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     TEMPORARY RESTRAINING ORDER | 25               4301 NE 4th St. PO Box 2767
                                                    Renton, WA 98059
                                                    Phone: (206) 715-4248
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     TEMPORARY RESTRAINING ORDER | 26               4301 NE 4th St. PO Box 2767
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                                                    Phone: (206) 715-4248
                                                    Fax: (250) 900-2664
